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                  EXHIBIT 24
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




     FEDERAL TRADE COMMISSION,
                                     Plaintiff,
                         v.                                   Civil Action No. 1:20-cv-03590 (JEB)
         META PLATFORMS, INC.,
                                   Defendant.




            PLAINTIFF FEDERAL TRADE COMMISSION’S RESPONSE TO META
                PLATFORMS, INC.’S LIST OF FEATURES OR ACTIVITIES

       Pursuant to the Court’s August 1, 2022 Order, ECF No. 165, and in response to Meta’s

August 22, 2022 List of Features or Activities for Classification (“Meta’s List”), the Federal

Trade Commission (“FTC”) provides below its present position on whether each of the 322

features or activities identified in Meta’s List is or is not within the definition of “personal social

networking” alleged in the FTC’s complaint. E.g., Substitute Amended Complaint (“SAC”)

¶¶ 166-169, ECF No. 81.

       The FTC incorporates by reference all of its General and Specific Objections in its April

29, 2022 Objections and Responses to Defendant Meta Platforms, Inc.’s First Set of

Interrogatories, as well as in its June 14, 2022 Supplemental Objections and Responses to

Defendant Meta Platforms, Inc.’s First Set of Interrogatories (“Supplemental Response”).

Moreover, the FTC responds here to the best of its present ability after a reasonably diligent

inquiry and while discovery in this matter is ongoing, and thus the FTC reserves its right to

supplement, revise, or correct any of its responses pursuant to Fed. R. Civ. P. 26(e). See also

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ECF No. 165 at 2 (“If, at any point in the future, the FTC takes a different position on any such

feature or activity, the FTC shall so supplement its response.”).

       In particular, the FTC is actively seeking documents, data, and testimony from Meta that

will further inform the characteristics and usage of Meta’s applications. Moreover, such

questions will likely be the subject of expert analysis as provided by the Court’s Scheduling

Order. Scheduling Order at 1, ECF No. 103 (providing a deadline for expert discovery of

January 5, 2024). The FTC also reserves its right to revise its response if additional evidence

and analysis shows that any features or activities have materially changed such that their

classification varies depending on the time period assessed.

       The table below reflects the FTC’s item-by-item assessment and classification for each of

the 322 features/activities identified by Meta on the Facebook, Instagram, Facebook Messenger,

and WhatsApp applications at this time.

       In sum, all of the features/activities identified by Meta for Facebook and Instagram are

part of Meta’s personal social networking offering, except Facebook Dating. The FTC’s

classifications are driven in large part by the connection between the feature/activity and users’

ability to share and experience each of the various features and activities with their social

networks of friends, family, and personal connections in a shared social space—all built and

maintained within the Facebook and Instagram applications—using Facebook’s and Instagram’s

integrated and personalized social experiences. Cf. SAC ¶ 166 (alleging “personal social

networking services” are “online services that enable and are used by people to maintain

personal relationships and share experiences with friends, family, and other personal connections

in a shared social space”); see also Supplemental Response at 6-11 (describing how personal

social networking is an integrated service that allows people to share personal updates and other



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content with personal connections). With the exception of Facebook Dating, the evidence

presently available to the FTC suggests that the various features/activities identified by Meta for

Facebook and Instagram are experienced and perceived by users, and/or are presented to users,

as aspects of personal social networking, and users are engaging with that content along with

their networks of friends, family, and personal connections, built and maintained within the

respective applications, and using Facebook’s and Instagram’s integrated and personalized social

experiences. See, e.g., Supplemental Response at 6-11 (discussing evidence of how Meta

integrates various features of its apps, including with its “core social assets”).

       The FTC classifies Facebook Dating as outside of Meta’s personal social networking

offering because evidence suggests that Meta affirmatively cordons off Dating from Facebook’s

social networking service—that is, Facebook Dating is intentionally kept separate from users

maintaining a personal network of friends, family, and other personal connections and sharing

personal updates and other content with them. See, e.g., www.facebook.com/dating (last

accessed September 12, 2022) (“A space just for Dating. Your Facebook Dating profile and

conversations won’t be shared with anyone outside of Dating.”). The FTC has, however, also

found evidence suggesting that Meta does offer the opportunity for users to use Facebook Dating

as an experience shared with their personal network. See, e.g., FB_FTC_CID_05974730 (noting

that, as of May 2019, Meta created a “Secret Crush” feature in Dating that allowed users to

“create a private list of []Facebook friends that [the user] might be interested in”). This remains

under evaluation and subject to further discovery by the FTC.

       For Messenger and WhatsApp, by contrast, nearly all features/activities are outside the

definition of personal social networking because both applications present a user experience

dedicated to mobile messaging, rather than maintaining a network of friends, family, and



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personal connections and sharing experiences with them in a shared social space. Stories,

offered on Messenger, is the sole exception because it appears to be fully linked with Facebook’s

personal social networking services (e.g., users automatically cross-post Stories between

Facebook and Messenger). This, too, remains under evaluation and subject to further discovery

by the FTC.

       The FTC’s classifications are limited to the features/activities identified by Meta as they

are implemented on Facebook, Instagram, WhatsApp, and Messenger. The FTC’s classifications

have no implication for whether any specific feature or activity offered by a different product is

or is not within the definition of personal social networking. For example, the FTC currently

classifies “Posting Original photo(s)” on Facebook’s Feed as within the definition of “personal

social networking” in significant part because users engaged in that activity are doing so with

their network of friends, family, and personal connections, built and maintained within

Facebook, and using Facebook’s integrated and personalized social experience. Such

classification has no bearing on whether posting photos on any other website or product is within

or outside the definition of “personal social networking.”




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